                           TIME SHEET FOR BRAD BANIAS
Date               Court         Task                                         Time
                                 Reviewed AAO denial and USCIS denial
        9/16/2016 District       of Felipe's SIJ application.                        0.8
                                 Researched SIJ statutes and regulations;
                                 reviewed generally the state of the SIJ
        9/16/2016 District       case law.                                           2.2
                                 Researched WDNC local rules and venue
                                 statute to determine proper district for
        9/16/2016 District       case                                                1.1
                                 Started writing first draft of complaint re:
        9/18/2016 District       facts.                                              2.7
                                 Finished writing first draft of the
        9/20/2016 District       complaint; finished causes of action.               3.3
                                 Completed in forma pauperis, pro hac
        9/24/2020 District       vice, summons, and civil cover sheet.               1.8
                                 Phone call with co-counsel re: timing of
                                 filing and filing the case initiating
       10/16/2016 District       documents.                                          0.5
                                 Finalized all case initiating documents for
       10/27/2016 District       co-counsel to file.                                 3.5
                                 Reviewed filings and discussed judge
        11/3/2020 District       assignment with co-counsel.                          1
                                 Researched "coventional service" via US
       11/22/2016 District       Marshall                                             1
                                 Reviewed notices of appearance for
       12/12/2016 District       government attorneys                                0.2
                                 Emailed opposing counsel re: response
         1/8/2017 District       time                                                0.2
                                 Draftd rule 26(f) report and forwarded it
         2/1/2017 District       to opposing counsel                                 1.4
                                 Emailed opposing counsel re: extension of
        3/20/2017 District       time for opening brief                              0.5
                                 Phone call with opposing counsel re:
        3/20/2017 District       extension of time                                   0.4
                                 Drafted second motion for entry of
                                 consent scheduling order; drafted
        3/20/2017 District       proposed order; and finalized both.                 1.5
                                 Reviewed administrative record; made
        3/23/2017 District       significant notes.                                  2.9
                                 Conducted legal research re: ultra vires
        3/25/2017 District       eligibility criteria in the Fourth Circuit;         3.1




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                          Conducted legal research re: NC state law
    3/25/2017 District    on finality of custody orders                 1.8
                          Conducted legal research re: full faith and
    3/25/2017 District    credit clause and state court judgments       1.9
                          Drafted facts for MSJ, including legal
    3/28/2017 District    background of SIJ                             2.7
                          Conducted additional legal research re:
                          legislative history and regulatory history
    3/29/2017 District    of SIJ provisions.                            3.9
                          Finished first draft of brief; forwarded to
     4/2/2017 District    co-counsel                                    6.9
                          Finalized MSJ for co-counsel's final
     4/4/2017 District    review.                                       3.1
                          Reviewed government's cross motion for
                          summary judgment and response; took
     5/5/2017 District    detailed notes for response/reply             1.8
                          Additional in-depth research re: policy
     5/5/2017 District    manual and North Carolina law.                2.9
                          Drafted initial draft of response/reply to
    5/10/2017 District    government's cross motion                     5.4
    5/11/2017 District    Finalized response/reply                      4.9
                          Reviewed government's response/reply.
                          Looked into local rule for right for sur-
    5/20/2017 District    reply. Opted against it.                      1.1
                          Reviewed government's notice of
    8/28/2017 District    supplemental authority                        0.5
                          Reviewed court's order. Researched
                          appeal deadlines. Strategy session with
     3/7/2018 District    co-counsel.                                   1.8
    3/23/2018 District    Drafted notice of appeal.                     0.5
                          Completed Appearance of counsel,
                          docketing statement, and disclosure
    3/26/2018 Circuit     statement.                                    0.3
    3/26/2018 Circuit     Reviewed briefing schedule.                   0.2
     4/3/2018 Circuit     Identified record for appeal.                 1.3
                          Started writing opening brief; conducted
                          additional research. Re-wrote significant
     5/2/2018 Circuit     portions of legal argument around Ojo.        2.1
                          Finished opening brief; included
                          additional research re: text, structure,
     5/5/2018 Circuit     history and NC law.                           7.8
     5/7/2018 Circuit     Finalized opening brief.                      4.4
     5/7/2018 Circuit     Finalized appendix.                             2



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    5/31/2018 Circuit     Reviewed government's response brief.        1.9
                          Researched Chenery doctrine and its
     6/3/2018 Circuit     application. Started drafting reply.         2.8
    6/14/2018 Circuit     Finished and finalized reply brief.          4.3
                          Reviewed case tenatively calendered
                          notice, and Drafted conflict with
     8/7/2018 Circuit     argument dates                               0.3
     9/5/2018 Circuit     Drafted oral argument acknowledgment.        0.4
                          Reviewed all briefs and records in
   10/27/2018 Circuit     argument preparation                         2.8
                          Conducted research on SIJ case law to
   10/28/2018 Circuit     look for new cases.                          1.1
                          Traveled from Charleston to Richmond
   10/29/2018   Circuit   for argument.                                  7
   10/29/2018   Circuit   Engaged in argument preparation              3.1
   10/30/2018   Circuit   Final preparations for argument                1
   10/30/2018   Circuit   Attended and presented oral argument.        1.5
   10/30/2018   Circuit   Traveled from Richmond to Charleston.          7
                          Researched and drafted notice of
    11/5/2018 Circuit     supplemental authority.                      1.2
                          Reviewed the government's notice of
    11/9/2018 Circuit     supplemental authority.                      0.5
    1/29/2019 Circuit     Reviewed the panel opinion.                  1.1
                          Communication to client re: decision and
    1/29/2019 Circuit     strategy forward.                            0.5
                          Started researching petition for rehearing
    3/10/2019 Circuit     en banc.                                     1.2
                          Completed first draft of petition for
    3/12/2019 Circuit     rehearing                                    3.2
    3/15/2019 Circuit     Finalized petition for rehearing en banc     2.1
                          Reviewed government's response;
    3/29/2019 Circuit     researched opportunity to file reply.        1.8
                          Drafted motion for extension of time to
    6/12/2019 Circuit     file supplemental brief                      0.8
                          Conducted legal research for
    6/17/2019 Circuit     supplemental brief.                          2.9
    6/19/2019 Circuit     Finalized supplemental brief                   2
    7/15/2019 Circuit     Finalized corrected supplemental brief       0.8
                          Reviewed government's supplemental
     8/5/2019 Circuit     brief                                        1.9
                          Reviewed all briefs and new cases in
    9/13/2019 Circuit     preparation for oral argument.               4.9




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    9/15/2019 Circuit     Conducted argument preparation.                 2
                          Traveled to Richmond from Charleston
    9/18/2019 Circuit     for Oral Argument                               7
                          Finalized argument prep; reviewed record
    9/18/2019   Circuit   in detail.                                     2.3
    9/19/2019   Circuit   Attended and presented oral argument.          2.1
    9/19/2019   Circuit   Traveled from Richmond to Charleston.            7
    2/10/2020   Circuit   Reviewed en banc decision.                     1.8
    2/10/2020   Circuit   Provided update to co-counsel for client.      0.5
                          Email to opposing counsel re: settlement
     5/4/2020 Circuit     offer for EAJA                                 0.2
                          Research re: extended deadline for
     5/4/2020 Circuit     petitions for certiorari due to COVID          0.5
                          Second email to opposing counsel re:
    6/26/2029 Circuit     settlement offer for EAJA fees                 0.3
                          Research re: filing EAJA in district or
    7/31/2020 Circuit     circuit court.                                 1.8
                          Started drafting EAJA petition for
     8/3/2020 Circuit     WDNC.                                          2.8
                          Consolidated and finalized time sheets for
     8/4/2020 Circuit     exhibits.                                        4
     8/5/2020 Circuit     Continued drafting of EAJA petition.           6.4
    8/7/20220 District    Finalized EAJA petition                        4.8

     8/7/2020 District    Drafted motion to enforce judgment             2.3
                          Total                                        189.3




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                             Time Sheet for Andres Lopez
Date               Court         Task                                           Time
                                 Reviewed denial of AAO appeal and
        5/21/2016 District       researched options.                                   1.2
                                 Communicated with client regarding need
                                 to research next steps, including
        5/22/2016 District       Administrative Procedures Act claim.                   1
                                 Researched Administrative Procedures
                                 Act and denial of SIJS claim by AAO and
        7/10/2016 District       USCIS.                                                4.5
                                 Communicated with client obtaining co-
        7/11/2016 District       counsel and filing action in District Court.           2
                                 Communicated with client and co-counsel
        9/12/2016 District       regarding action in District Court.                   1.2
                                 Communicated with client regarding
        10/4/2016 District       federal action.                                       0.4
                                 Phone call with co-counsel re: timing of
                                 filing and filing the case initiating
       10/16/2016 District       documents.                                            0.5
                                 Reviewed and filed in forma pauperis, pro
       10/28/2016 District       hac vice, summons and civil cover sheets.              4
                                 Reviewed filings and discussed judge
        11/3/2020 District       assignment with co-counsel.                            1
                                 Updated client regarding filing of federal
        11/3/2020 District       action.                                               0.2
                                 Reviewed notices of appearance for
       12/12/2016 District       government attorneys                                  0.2
        1/30/2017 District       Updated client regarding federal action.              0.6
                                 Received and reviewed first draft of brief
         4/2/2017 District       from co-counsel.                                      1.3
                                 Researched state regulations and
         4/5/2017 District       immigration law regarding SIJS.                       4.5
                                 Reviewed government's cross motion for
                                 summary judgment and response; took
         5/5/2017 District       detailed notes for response/reply                     1.8
        5/20/2017 District       Reviewed government's response/reply. .               0.7
                                 Reviewed government's notice of
        8/28/2017 District       supplemental authority                                0.5
        9/15/2017 District       Updated client regarding status of case.                1
                                 Reviewed court's order. Researched
                                 appeal deadlines. Strategy session with
         3/7/2018 District       co-counsel.                                           1.8



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    5/31/2018 Circuit     Reviewed government's response brief.          1
                          Researched state regulations and
   10/15/2018 Circuit     immigration law regarding SIJS.               2.5
                          Communicated with co-counsel regarding
   10/30/2018 Circuit     oral argument.                                0.5
                          Listened to oral argument and
   10/31/2018 Circuit     communicated with co-counsel.                 0.8
                          Reviewed the government's notice of
    11/9/2018 Circuit     supplemental authority.                       0.3
    1/29/2019 Circuit     Reviewed the panel opinion.                   0.8
                          Communication to client re: decision and
    1/29/2019 Circuit     strategy forward.                             2.2
    3/29/2019 Circuit     Reviewed government's response.                 1
                          Reviewed government's supplemental
     8/5/2019 Circuit     brief                                         0.5
     9/9/2019 Circuit     Updated client regarding status of case.      1.5
                          Reviewed all briefs and new cases in
    9/13/2019 Circuit     preparation for oral argument.                  2
    9/15/2019 Circuit     Conducted argument preparation.              2.25
                          Traveled to Charlotte to Richmond for
    9/18/2019 Circuit     Oral Argument                                 4.5
    9/18/2019 Circuit     Reviewed record in detail.                    2.6
                          Attended oral argument; assisted in
    9/19/2019   Circuit   presenting oral argument.                     2.1
    9/19/2019   Circuit   Traveled from Richmond to Asheville             6
   10/20/2019   Circuit   Updated client regarding oral argument.         1
    2/10/2020   Circuit   Reviewed en banc decision.                   1.25
                          Received and reviewed update from co-
    2/10/2020 Circuit     counsel; Discussed update with client.         1
                          Communicated to client regarding remand
    4/30/2020 Circuit     for SIJS.                                    1.25
                          Consolidated and finalized time sheets for
     8/7/2020 Circuit     exhibits.                                       2
     8/6/2020 Circuit     Checked case status of I-360 petition        0.25
                          Total Time                                     59




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                                                                                                 HAMPTON INN & SUITES RICHMOND DOWNTOWN
                                                                                                         700 EAST MAIN STREET,SUITE A
                                                                                                             RICHMOND, VA 23219
                                                                                                              United States of America
                                                                                                 TELEPHONE 804-643-5400       • FAX 804-643-5200
                                                                                                                    Reservations
                                                                                                         www.hilton.com or 1 800 HILTONS
BANIAS, BRADLEY                                                                Room No:                           1519/NQRU
                                                                               Arrival Date:                      10/29/2018 6:50:00 PM
5 SUTHERLAND AVE                                                               Departure Date:                    10/30/2018 10:40:00 AM
                                                                               Adult/Child:                       1/0
CHARLESTON SC 294034308                                                        Cashier ID:                        BURTONJO1
UNITED STATES OF AMERICA                                                       Room Rate:                         155.82
                                                                               AL:
                                                                               HH #                               936817357 SILVER
                                                                               VAT #
                                                                               Folio No/Che                       91335 A

Confirmation Number: 52297999

HAMPTON INN & SUITES RICHMOND DOWNTOWN 10/30/2018 10:39:00 AM

DATE                    REF NO                     DESCRIPTION                                                                  CHARGES
10/29/2018              249190                     PARKING HONDA ACCORD GREY                                                        $15.00
10/29/2018              249191                     GUEST ROOM                                                                      $155.82
10/29/2018              249191                     OCCUPANCY TAX                                                                    $12.47
10/29/2018              249191                     STATE TAX                                                                        $8.26
10/30/2018              249347                     AX *5317                                                                        ($191.55)
                                                         **BALANCE**                                                                        $0.00




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United States of America. Coming soon in Italy and Romania.




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                                                                    Page:1
8/7/2020                                                  Guest Reservations: Reservations: Show


  855-381-9415                                                                                                         US$      Reservations




   Your reservation is confirmed, and is paid in full.   Confirmation Number: R1661978192
   Thank you for using Guest Reservations!

Reservation Details
                                                                                                   Total Charge    US$290.47
           Omni Richmond                                                                               Check In    Wednesday, Sep 18, 2019
           Hotel                                                                                     Check Out     Thursday, Sep 19, 2019
                                                                                                          Adults   1
  Omni Richmond Hotel
  
  100 S 12th St Richmond, VA 23219
Your Receipt




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https://www.getaroom.com/reservations/e48c64d4-b98d-4aa1-bb75-278e9b2092fb?utm_campaign=confirmed&utm_medium=email&utm_source=cust…            1/3
8/7/2020                                                             Guest Reservations: Reservations: Show

                Omni Richmond Hotel
                Guest                                                                     Bradley Banias
                Arrive                                                                    Wednesday, September 18, 2019
                Depart                                                                    Thursday, September 19, 2019
                Adults                                                                    1
                Room                                                                      1 Deluxe Room 1 King Bed

               »
               Rates per room
              Room 1: Deluxe Room 1 King Bed (Bradley Banias - 1 adults, 0 children)
                   Wed, Sep 18                                                                            US$203.30

               »
               Costs & Fees
                Subtotal                                                                                  US$203.30

                Tax Recovery Charges & Service Fees                                                       US$87.17

                Total                                                                                     US$290.47


               »
               Payment Info
                Payment Method                                                                     American Express

                Card Number                                                                           ************2106

                Amount Charged                                                                            US$290.47

                Your card was charged in US Dollars

                This payment will be processed in the United States and will appear on your statement as "cci*Hotel Res".

                By booking this reservation you have accepted the Terms and Conditions.


               »
               Billing Address
                Name                                                                      Bradley Banias
                Address                                                                   5 Sutherland Avenue
                                                                                          Charleston, SC 29403
                Phone                                                                     8433245717

               »
               Cancellation Policy

               Each room in this reservation is subject to the hotel's cancellation policy which is: This reservation is
               non-refundable. There is no refund for no-shows or early checkouts.

               »
               Additional Policies
             Pre Pay Policy: This hotel requires a deposit which will be charged to your credit card shortly after
             purchase.

               »
               Booking Ref. Number
                280644114




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https://www.getaroom.com/reservations/e48c64d4-b98d-4aa1-bb75-278e9b2092fb?utm_campaign=confirmed&utm_medium=email&utm_source=cust…   2/3
8/7/2020                                                 Guest Reservations: Reservations: Show




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https://www.getaroom.com/reservations/e48c64d4-b98d-4aa1-bb75-278e9b2092fb?utm_campaign=confirmed&utm_medium=email&utm_source=cust…   3/3
